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 6   VIRGILIO PINEDA

 7                       IN THE UNITED STATES DISTRICT COURT FOR THE

 8                              EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                      )       No. CRS 06 441 GEB
                                                    )
                                                    )
11          Plaintiff,                              )       STIPULATION AND
12                                                  )       ORDER CONTINUING
     v.                                             )       STATUS CONFERENCE
13                                                  )
     VIRGILIO PINEDA                                )
14                                                  )       Date: September 30, 2011
                                                    )       Time: 9:00 a.m.
15
            Defendant                               )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
16                                                  )
                                                    )
17

18          IT IS HEREBY stipulated between the United States of America through its undersigned

19   counsel, Jill Thomas, Assistant United States Attorney, together with counsel for defendant

20   Virgilio Pineda, that the status conference presently set for September 2, 2011, be continued to

21   September 30, 2011, at 9:00 a.m., thus vacating the presently set status conference. This

22   stipulation has been reached because the defendant needs more time to conduct investigation and

23   prepare for this case.

24          The Government concurs with this request.

25          Further, the parties agree and stipulate that the ends of justice served by the granting of

26   such a continuance outweigh the best interests of the public and the defendant in a speedy trial

27   and that time within which the trial of this case must be commenced under the Speedy Trial Act

28   should therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local



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 1   Code T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
 2   August 26, 2011, to and including September 30, 2011.
 3          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 4   IT IS SO STIPULATED.
 5
     Dated: August 26, 2011                                        /s/ David D. Fischer
 6                                                                 DAVID D. FISCHER
                                                                   Attorney for Defendant
 7                                                                 VIRGILIO PINEDA
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 9
     Dated: August 26, 2011                                        Benjamin B. Wagner
10                                                                 United States Attorney
11
                                                           by:     /s/ David D. Fischer for
12                                                                 JILL THOMAS
                                                                   Assistant U.S. Attorney
13                                                                 Attorney for Plaintiff
14

15                                         ORDER
16          The Court, having received, read, and considered the stipulation of the parties, and good
17   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
18   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
19   it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
20   the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
21   failure to grant a continuance in this case would deny defense counsel to this stipulation
22   reasonable time necessary for effective preparation, taking into account the exercise of due
23   diligence. The Court finds that the ends of justice to be served by granting the requested
24   continuance outweigh the best interests of the public and the defendant in a speedy trial.
25          The Court orders that the time from the date of the parties' stipulation, August 26, 2011,
26   to and including September 30, 2011, shall be excluded from computation of time within which
27   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
28   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is


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 1   further ordered that the September 2, 2011, status conference shall be continued until September
 2   30, 2011, at 9:00 a.m.
 3
     IT IS SO ORDERED.
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 5

 6   Dated: August 30, 2011
 7                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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